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                           IN THE UNITED STATES DISTRICT COURT
                             OF THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

     JUAN LOZADA-LEONI                          §
                                                §
     V.                                         §              No. 4:20CV68-RWS-CMC
                                                §
     MONEYGRAM INTERNATIONAL,                   §
     INC. and MONEYGRAM PAYMENT                 §
     SYSTEMS, INC.                              §


                                                ORDER


            The above-referenced case was referred to the undersigned United States Magistrate Judge
 .
     in accordance with 28 U.S.C. § 636. The following pending motion is before the Court: Motion to

     Withdraw Previously Filed Pleading (Docket Entry # 81). The Court, having reviewed the motion

     and noting it is unopposed, is of the opinion the motion to withdraw attorney Steve Kardell’s

     previously filed Motion to Stay Unopposed Motion for Withdrawal of Counsel (Docket Entry # 74)

     should be GRANTED. Accordingly, it is

            ORDERED the Clerk of the Court shall terminate Motion to Stay Unopposed Motion for

     Withdrawal of Counsel (Docket Entry # 74) as WITHDRAWN.

            SIGNED this 15th day of April, 2020.




                                                       ____________________________________
                                                       CAROLINE M. CRAVEN
                                                       UNITED STATES MAGISTRATE JUDGE
